Case 1:99-cV-01268-.]DB-tmp Document 89 Filed 07/01/05 Page 1 of 5 Page|D 89

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Plamtlff \Wi,\,
v. Case No. 99-1268 Bre/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Arnerica, Doctor Crants, Prison Realty Trust, Inc., Correctional
l\/lanagement Services Corporation, Prison Realty Management, lnc., and Prison
Management Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, Will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by

either party.

This document entered on the docket sheet in compliance

with Rule 53 and,'or_?s (a) FncP on (§! ~ 05' 05 i

Case 1:99-cV-01268-.]DB-tmp Document 89 Filed 07/01/05 Page 2 of 5 Page|D 90

~L
Dated: this {E; day of ,2005.

§bc@é…

J. DANIEL BREEN \
U IT D sTATES DISTRICT JUDGE

 

 

APPROVED FOR ENTRY:

adam Q#a~ /é()k

 

 

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COUNSEL FOR DEFENDANTS

Case 1:99-cV-01268-.]DB-tmp Document 89 Filed 07/01/05 Page 3 of 5 Page|D 91

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, ll and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on JuneZB_, 2005.

PENTECOST, GLENN & RUDD, PLLC

Byr %/ww” MA/M

J ames l. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 89 in
case 1:99-CV-01268 Was distributed by faX, mail, or direct printing on
.luly 5, 2005 to the parties listed.

 

 

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Case 1:99-cV-01268-.]DB-tmp Document 89 Filed 07/01/05 Page 5 of 5 Page|D 93

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Honorable .1. Breen
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